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 UNITED STATES DISTRICT COURT
 EASTERN DISTRICT OF NEW YORK
 -------------------------------------------------------------------X
 MARKEL AMERICAN INSURANCE COMPANY
 A/S/O 244 HOWARD AVENUE, LLC,

                                    Plaintiff,                            OPINION AND ORDER

                  v.                                                      21-cv-6998
                                                                          (Marutollo, M.J.)
 MR. DEMOLITION, INC., LIME HOME
 IMPROVEMENT, INC., JS TOWER
 CONSTRUCTION CORP., JIH BUILDERS
 GROUP, LLC, Y&Z DEVELOPERS, INC., MT
 GROUP, LLC, and SAFETY SOLUTIONS NY,
 INC.,

                                     Defendants.
 -------------------------------------------------------------------X

 JOSEPH A. MARUTOLLO, United States Magistrate Judge:

         Plaintiff Markel American Insurance Company, as subrogee of 244 Howard Avenue LLC,

 brings this action against multiple defendants, including MT Group, LLC (“MT”) for “damages

 caused by a January 9, 2019 collapse [] that occurred [at] Plaintiff’s insured, 244 Howard Avenue

 Associates[,] located at 244 to 246 Howard Avenue” in Brooklyn, New York. Dkt. No. 42. MT

 has moved to dismiss the Amended Complaint pursuant to Rule 12(b)(6) of the Federal Rules of

 Civil Procedure. Dkt. No. 41, at 7.

         For the reasons set forth below, MT’s motion to dismiss is denied, but the Court will permit

 discovery solely related to whether Plaintiff is entitled to equitable tolling with respect to its claims

 against MT, and will allow for an expedited summary judgment briefing thereafter.

 I.      Background

         Plaintiff filed the Complaint in this action on December 20, 2021. See Dkt. No. 1. During

 a September 14, 2022 conference in this action and a parallel coverage action brought by 244

 Howard Avenue LLC against Plaintiff (244 Howard Avenue, LLC v. Markel American Insurance
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 Company, 21-CV-04480 (ENV) (RER) (E.D.N.Y.), counsel for Defendant JIH Builders Group,

 LLC (“JIH”) noted that MT was a “potential defendant” that JIH “believed should have been

 named in the subrogation action.” See FTR 3:40-5:02. In fact, JIH noted that it had filed

 “summonses with notices” in state court against MT. See id. Counsel for JIH argued that it would

 be “appropriate” for Plaintiff in the instant action to name MT as a defendant “given the pandemic

 toll” under New York law. See id. Counsel for Plaintiff argued that MT should be added to the

 instant case and requested a deadline to amend the Complaint to name MT as a defendant. See

 FTR 6:48-7:07. Counsel for JIH did not object to amending the Complaint to name MT as a

 defendant. See FTR 8:15-8:41. The Court ordered Plaintiff to amend the Complaint by September

 30, 2022 to add, inter alia, MT as a defendant. See Minute Entry dated September 14, 2022.

        On September 28, 2022, Plaintiff filed the Amended Complaint where, inter alia, Plaintiff

 named MT as a defendant and raised two claims against MT: negligence and breach of contact.

 See Dkt. No. 27 ¶¶ 103-121.

        As set forth in the Amended Complaint, “[p]rior to January 9, 2019, MT was retained as a

 subcontractor [] involved in the renovation of the property located at 244-246 Howard Avenue in

 Brooklyn, New York (hereinafter ‘the Project’).” Id. ¶¶ 21, 30. Per Plaintiff, MT was retained

 “on the Project to provide assurance services for all phases of building construction, including but

 not limited to testing and inspecting asphalt, concrete, fireproofing, fire stopping, reinforcing steel,

 roofing, soil backfill, structural steel and sub-surface soil at [244-246 Howard Avenue, Brooklyn,

 New York 11233 (“the Property”)].” Id. ¶ 30.

        Plaintiff alleges that MT “owed a duty to [244 Howard Avenue LLC (“Plaintiff’s

 Insured”)] to exercise reasonable care in performing construction work and assurance services on

 the Project, including but not limited to, testing and inspecting asphalt, concrete, fireproofing, fire



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 stopping, reinforcing steel, roofing, soil backfill, structural steel, steel framing systems and sub-

 surface soil at the Property in a good and workmanlike manner that did not create a risk of damage

 to the Property and in accordance with all local, state and federal laws, rules, regulations and codes,

 industry standards and codes, as well as in accordance with all relevant plans and specifications.

 105.” Id. ¶ 104. Per Plaintiff, “MT also owed a duty to Plaintiff’s Insured to warn that the shoddy

 and/or improper construction work at the Property could cause a collapse at the Property.” Id. ¶

 105.

        Plaintiff alleges that the collapse at the Property “that occurred on January 9, 2019 and

 resulting damages were caused by the negligence, carelessness, negligent acts and/or omissions of

 MT, either acting independently and/or by and through its agents, servants, workmen, employees

 and/or subcontractors acting within the scope of their employment, both generally and specifically

 as follows by:

        a.        Failing to perform construction work, inspection and assurance services at
                  the Property, including but not limited to, the installation of steel framing
                  systems, in a careful and workmanlike manner;

        b.        Utilizing employees, workmen and/or subcontractors which MT knew, or
                  in the exercise of reasonable care should have known, were not properly
                  trained for the construction, assurance, inspection and steel framing work
                  to be performed at the Property;

        c.        Failing to exercise reasonable care in the supervision, assurance and/or
                  inspection of the construction work performed at the Property, including but
                  not limited to, the installation of steel framing systems performed by its
                  employees, agents, servants, workmen and/or subcontractors;

        d.        Violating and/or failing to comply with recognized industry-wide standards
                  and/or trade practices pertaining to MT’s construction, assurance,
                  inspection and steel framing work at the Property;

        e.        Failing to ensure that its employees, agents, servants, workmen and/or
                  subcontractors complied with all relevant industry-wide standards and/or
                  trade practices;



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       f.   Failing to properly advise, instruct and/or train their employees, agents
            and/or servants;

       g.   Failing to perform its work so as not to create a foreseeable risk of harm to
            persons or property;

       h.   Permitting a defective and dangerous condition to exist that created an
            unreasonable risk of harm to the Property, of which MT knew or in the
            exercise of reasonable care, should have known;

       i.   Failing to comply with all relevant building codes;

       j.   Failing to comply with all local, state and federal laws, rules, regulations,
            codes and other requirements regarding MT’s construction, assurance,
            inspection and steel framing work at the Property;

       k.   Failing to exercise reasonable care in the inspection and assurance of
            installation of the steel framing systems at the Property;

       l.   Failing to obey the rights and safety of others in the area where MT allowed
            the Collapse to occur;

       m.   Improperly, negligently, carelessly and/or recklessly performing
            construction work at the Property, including but not limited to, construction,
            assurance, inspection and steel framing work at the Property;

       n.   Improperly, negligently, carelessly and/or recklessly providing
            construction, assurance, inspection and steel framing work at the Property;

       o.   Failing to inspect the steel framing systems that was installed at the
            Property;

       p.   Failing to reasonably anticipate that negligently, carelessly and/or
            recklessly performing construction work, inspection, assurance services at
            the Property and installing the steel framing systems at the Property could
            cause a collapse;

       q.   Failing to take the necessary precautions to guard against damage or a
            collapse caused by negligently, carelessly and/or recklessly installing the
            steel framing systems at the Property;

       r.   Failing to comply with all plans and specifications regarding the installation
            of the steel framing systems to be performed at the Property;

       s.   Failing to act reasonably under all of the circumstances; and



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        t.      Such other acts or omissions that will be revealed during discovery.

 Id. ¶ 106. Plaintiff alleges that the collapse at the Property and resultant damages were the direct,

 proximate, and foreseeable result of MT’s careless and negligent conduct, acts, and/or omissions

 as set forth above. See id. ¶ 107.

        On August 3, 2023, MT filed its fully-briefed motion to dismiss. Dkt. Nos. 41-43. MT

 argues that Plaintiff’s breach of contract and negligence claims are time barred pursuant to a

 provision in a contract between MT and Plaintiff’s Insured, to wit:

        NO ACTION OR CLAIM, WHETHER IN TORT, CONTRACT, OR
        OTHERWISE, MAY BE BROUGHT AGAINST [MT] ARISING FROM OR
        RELATED TO [MT’S] WORK MORE THAN TWO YEARS AFTER THE
        CESSATION OF [MT’S] WORK HEREUNDER, REGARDLESS OF THE
        DATE OF DISCOVERY OF SUCH CLAIM.

 Dkt. No. 41-3, at 8 (emphasis added); see Dkt. No. 41-11, at 6-7. According to MT, “[t]he

 contract’s terms and conditions include this very specific and detailed limitation on the period of

 time in which an action can be commenced against [MT] to two years from cessation of services.”

 Dkt. No. 41-11, at 6-7. “Using the two-year reduced statute of limitations period, the last date on

 which [P]laintiff was entitled to bring an action or claim against [MT] was January 9, 2021.

 Plaintiff [] was 683 days past the deadline in bringing this action against [MT] when it filed the

 amended complaint on November 23, 2022.” Id. at 7.

        Plaintiff opposes the motion and argues that a factual dispute exists regarding when MT

 ceased its work on the subject property. Dkt. No. 42, at 7-9. Although not pled in the Amended

 Complaint, Plaintiff argues that MT did not cease work on the property until October 28, 2019.

 Id. at 5. Plaintiff further argues that the statute of limitations was tolled by Governor Cuomo’s

 COVID-19 executive orders (9 N.Y.C.R.R. 202.8), which went into effect on March 20, 2020 and

 applied until November 3, 2020. Id. at 10-11. Plaintiff also argues that the two-year contractual

 limitations period does not apply to its negligence claim because MT owed Plaintiff’s Insured a
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 duty of care separate and apart from its contractual obligations, and in any event, the shortened

 limitations period cannot act to bar gross negligence claims. Id. at 12.

        In reply, MT argues that even if the Court were to use the October 28, 2019 date as the

 accrual date and factored in the 228-day period in which the statute of limitations was purportedly

 tolled, Plaintiff’s claims were still untimely. See Dkt. No. 43.

        A status conference was held on February 14, 2024. See Minute Entry dated February 14,

 2024. During the conference, Plaintiff reiterated its position that its claims against MT did not

 begin to accrue until October 28, 2019. When asked why Plaintiff did not name MT as a defendant

 in the original complaint, Plaintiff’s counsel stated that Plaintiff was not aware of MT’s

 involvement in the loss until Plaintiff’s Insured added MT as a defendant in the state court action

 commenced by Plaintiff’s Insured (see 244 Howard Avenue, LLC v. MT Group, LLC,

 500590/2022, Kings County Supreme Court (“State Court Action”)), which counsel said occurred

 shortly before Plaintiff sought leave to amend in this case. MT reiterated its position that even if

 the Court were to apply the October 28, 2019 accrual date, Plaintiff’s claims would still be time

 barred because the Amended Complaint was not filed until September 28, 2022.

 II.    Legal Standards

        A complaint must plead “enough facts to state a claim to relief that is plausible on its face.”

 Bell Atl. Corp. v. Twombly, 550 U.S. 544, 570 (2007). “A claim is plausible ‘when the plaintiff

 pleads factual content that allows the court to draw the reasonable inference that the defendant is

 liable for the misconduct alleged.’” Matson v. Bd. of Educ., 631 F.3d 57, 63 (2d Cir. 2011)

 (quoting Ashcroft v. Iqbal, 556 U.S. 662, 678 (2009)). “The purpose of a motion to dismiss for

 failure to state a claim under Rule 12(b)(6) is to test the legal sufficiency of [p]laintiff’[s] claims

 for relief.” Amadei v. Nielsen, 348 F. Supp. 3d 145, 155 (E.D.N.Y. 2018). Although all allegations



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 contained in a complaint are assumed to be true, this tenet is “inapplicable to legal conclusions.”

 Iqbal, 556 U.S. at 678; see also Nguyen v. FXCM Inc., 364 F. Supp. 3d 227, 239 (S.D.N.Y. 2019)

 (“The Court need not accept as true, ‘legal conclusions, deductions, or opinions couched as factual

 allegations.’ ”) (quoting In re NYSE Specialists Sec. Litig., 503 F.3d 89, 95 (2d Cir. 2007)). When

 deciding a Rule 12(b)(6) motion, “a court may consider only the “facts stated on the face of the

 complaint, . . . documents appended to [it] or incorporated in [it] by reference, and . . . matters of

 which judicial notice may be taken.” Doheny v. International Business Machines, Corp. No. 23-

 CV-3962 (RA), 2024 WL 382142, at *4 (S.D.N.Y. Feb. 1, 2024) (citing Allen v. WestPoint-

 Pepperell, Inc., 945 F.2d 40, 44 (2d Cir. 1991)).

        “A statute of limitations affirmative defense normally cannot be decided on a motion to

 dismiss.” Kelly v. Commc’ns Workers of Am., AFL-CIO, No. 22-CV-10923 (GHW) (SDA), 2023

 WL 5105482, at *2 (S.D.N.Y. July 25, 2023), report and recommendation adopted sub nom., 2023

 WL 5108756 (S.D.N.Y. Aug. 9, 2023) (citations omitted). However, “[w]here the dates in a

 complaint show that an action is barred by a statute of limitations, a defendant may raise the

 affirmative defense in a pre-answer motion to dismiss.” Ghartey v. St. John's Queens Hosp., 869

 F.2d 160, 162 (2d Cir. 1989); see also McKenna v. Wright, 386 F.3d 432, 436 (2d Cir. 2004) (“[a]n

 affirmative defense may be raised by a pre-answer motion to dismiss under Rule 12(b)(6), without

 resort to summary judgment procedure, if the defense appears on the face of the complaint.”).

 “Such a motion is properly treated as a Rule 12(b)(6) motion to dismiss for failure to state a claim

 upon which relief can be granted rather than a Rule 12(b)(1) motion to dismiss for lack of

 jurisdiction over the subject matter.” Ghartey, 869 F.2d at 162. Indeed, as “Rule 12(b) of the

 Federal Rules of Civil Procedure does not enumerate failure to comply with the statute of

 limitations as a ground for dismissal,” such motions are typically brought pursuant to Rule



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 12(b)(6). Adams v. Crystal City Marriott Hotel, No. 02 CIV.10258 PKL, 2004 WL 744489, at *2

 (S.D.N.Y. Apr. 6, 2004) (“A motion to dismiss on this ground generally is treated as a motion to

 dismiss for failure to state a claim upon which relief can be granted pursuant to Rule 12(b)(6), as

 opposed to a Rule 12(b)(1) motion.”).

 III.    MT’s Motion to Dismiss

         A.       Statute of Limitations

         Under New York law, 1 the statute of limitations for a negligence action is three years from

 the date of the injury. CPLR § 214. An action for breach of contract must be brought within six

 years of the date of the breach. CPLR § 213(2). New York law also permits parties to a contract

 to shorten these periods. See Sidik v. Royal Sovereign Int’l Inc., 348 F. Supp. 3d 206, 213-14

 (E.D.N.Y. 2018) (“Under New York State law, parties to a contract may agree to shorten the

 applicable statutory limitations period.”); Corbett v. Firstline Sec., Inc., 687 F. Supp. 2d 124, 132

 (E.D.N.Y. 2009) (holding that plaintiff’s tort and contract-based claims were barred by one-year

 contractual limitation).

         Here, MT and Plaintiff’s Insured agreed to contractually shorten the above statutes of

 limitation such that any claim against MT had to be brought within two years of MT’s completion

 of the work. Plaintiff does not dispute that it is bound by the contract. Applying this two-year

 contractual limitations period in the State Court Action, the New York State Supreme Court, Kings

 County held that Plaintiff’s Insured’s claims against MT were time barred. 2 Dkt. 41-9, at 6-7.


 1
   “Where jurisdiction rests upon diversity of citizenship, a federal court sitting in New York must apply the
 New York . . . statutes of limitations.” Stuart v. Am. Cyanamid Co., 158 F.3d 622, 626 (2d Cir. 1998); see
 Sarkees v. E. I. Dupont De Nemours & Co., 15 F.4th 584, 588 (2d Cir. 2021) (holding that a court sitting
 in diversity applies state law to substantive issues and federal law to procedural issues (citing Erie Railroad
 Co. v. Tompkins, 304 U.S. 64 (1938)).
 2
  A court can take judicial of a state court decision in ruling on a motion to dismiss. See, e.g., Williams v.
 New York City Hous. Auth., 816 F. App’x 532, 534 (2d Cir. 2020); Pani v. Empire Blue Cross Blue Shield,

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 Plaintiff offers no compelling justification for why this Court should rule differently. Indeed,

 regardless of whether Plaintiff’s claims against MT are for breach of contract or tort, the shortened

 contractual limitations period applies to all claims against MT “whether in tort, contract, or

 otherwise.” This includes the claims brought by Plaintiff against MT in this case.

         In light of the two-year limitations period, Plaintiff’s claims against MT are untimely

 regardless of whether MT’s work was completed on January 9, 2019 or on October 28, 2019.

 Plaintiff filed the Amended Complaint against MT on September 28, 2022, more than one year

 after the contractually-shortened limitations expired irrespective of the accrual date. Accordingly,

 the Court finds that Plaintiff’s breach of contract and negligence claims against MT are untimely.

         B.      Equitable Tolling

         Because the statute of limitations has lapsed on Plaintiff’s claims against MT, the claims

 will be dismissed unless Plaintiff can establish the need for equitable tolling. Equitable tolling

 allows courts to extend a statute of limitations on a case-by-case basis to prevent inequity. See

 Warren v. Garvin, 219 F.3d 111, 113 (2d Cir. 2000). Equitable tolling is allowed only in “rare

 and exceptional circumstances” in which a party “is prevented in some extraordinary way from

 exercising his rights.” Zerilli-Edelglass v. New York City Transit Auth., 333 F.3d 74, 80 (2d Cir.

 2003) (citations and internal quotation marks omitted). Indeed, “[e]quitable tolling is a rare

 remedy to be applied in unusual circumstances, not a cure-all for an entirely common state of

 affairs.” Watson v. United States, 865 F.3d 123, 133 (2d Cir. 2017) (citations omitted).

         Generally, a litigant seeking equitable tolling bears the burden of establishing two

 elements: (1) that he has been pursuing his rights diligently, and (2) that some extraordinary

 circumstance stood in his way.” Mottahedeh v. United States, 794 F.3d 347, 352 (2d Cir. 2015)


 152 F.3d 67, 75 (2d Cir. 1998) (“It is well established that a district court may rely on matters of public
 record in deciding a motion to dismiss under Rule 12(b)(6)).

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 (quoting Pace v. DiGuglielmo, 544 U.S. 408, 418, 125 S.Ct. 1807, 161 L.Ed.2d 669 (2005)). When

 deciding whether a plaintiff acted with reasonable diligence under the circumstances, a court may

 consider (i) the party’s “efforts at the earliest possible time to secure counsel,” (ii) the party’ s lack

 of education or funds to consult a lawyer, and (iii) the party’s “direct access to other forms of legal

 assistance.” Baldayaque v. United States, 338 F.3d 145, 153 (2d Cir. 2003). When deciding

 whether extraordinary circumstances stood in the litigant’s way so as to secure equitable tolling,

 “it is not enough for a party to show that he experienced extraordinary circumstances”; [h]e must

 further demonstrate that those circumstances caused him to miss the original filing deadline.”

 Watson v. United States, 865 F.3d 123, 132 (2d Cir. 2017) (citations omitted); see also Mosca v.

 United States, 602 F. Supp. 3d 344 (E.D.N.Y. 2022) (holding that the COVID-19 pandemic did

 not constitute an “extraordinary circumstance” that would justify equitably tolling the limitations

 period).

         The Court finds that this question of equitable tolling is a highly factual issue that cannot

 be resolved on the pleadings at this stage of the proceedings. Instead, as discussed below, the

 Court orders limited discovery with respect to the factors listed above. Accordingly, Defendants’

 motion to dismiss Plaintiff’s claims are denied.

         Finally, neither party addressed whether the relation back doctrine applies to the instant

 case. “Rule 15(c) of the Federal Rules of Civil Procedure governs when an amended pleading

 ‘relates back’ to the date of a timely filed original pleading and is thus itself timely even though it

 was filed outside an applicable statute of limitations.” Krupski v. Costa Crociere S.p.A., 560 U.S.

 538, 541 (2010). “The purpose of Rule 15 is to provide maximum opportunity for each claim to

 be decided on its merits rather than on procedural technicalities.” Slayton v. Am. Exp. Co., 460




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 F.3d 215, 228 (2d Cir. 2006) (internal quotations omitted). Rule 15(c)(1) provides that an

 amendment relates back to the date of the original pleading when:

                 (A)     the law that provides the applicable statute of limitations allows
                         relation back;

                 (B)     the amendment asserts a claim or defense that arose out of the
                         conduct, transaction, or occurrence set out--or attempted to be set
                         out--in the original pleading; or

                 (C)     the amendment changes the party or the naming of the party against
                         whom a claim is asserted, if Rule 15(c)(1)(B) is satisfied and if,
                         within the period provided by Rule 4(m) for serving the summons
                         and complaint, the party to be brought in by amendment: (i) received
                         such notice of the action that it will not be prejudiced in defending
                         on the merits; and (ii) knew or should have known that the action
                         would have been brought against it, but for a mistake concerning the
                         proper party's identity.

 Fed. R. Civ. P. 15(c); see also Morales v. Cnty. of Suffolk, 952 F. Supp. 2d 433, 436-37 (E.D.N.Y.

 2013). These requirements must be met before an amended complaint that names a new party

 relates back to the original timely complaint. See Krupski, 560 U.S. at 541. As noted below, the

 parties shall address the relation back doctrine in their summary judgment briefing.

         C.      The Remainder of MT’s Motion

         MT also argues that dismissal is also appropriate because “the documentary evidence

 speaks for itself.” Dkt. No. 41-11, at 4. It is unclear what documentary evidence MT is referring

 to, but to the extent it is referring to the affidavit or field reports attached to its motion, the Court

 cannot consider such documents on a Rule 12(b)(6) motion to dismiss. See Weiss v. Premier

 Techs., No. 22-CV-6349 (DGL), 2023 WL 3314691, at *2 (W.D.N.Y. May 9, 2023)

 (“consideration of [] extraneous evidence is inappropriate on a motion to dismiss under Fed. R.

 Civ. Proc. 12(b)(6)”); Khanukayev v. Times Square All., No. 08-CV-6832 (CM), 2010 WL

 2836818, at *1 (S.D.N.Y. July 7, 2010) (recognizing there is no federal equivalent to CPLR



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 3211(1)); Nyame v. Bronx Lebanon Hosp. Ctr., No. 08-CV-9656 (DAB), 2010 WL 1379794, at

 *5 (S.D.N.Y. Mar. 31, 2010) (“The documents Defendants have attached in support of their

 Motion are neither integral to nor incorporated by reference in the Complaint and are therefore

 patently inappropriate for the Court to consider in deciding this Rule 12(b)(6) Motion to

 Dismiss.”). 3 Consequently, the remainder of MT’s motion is denied.




 3
   The Court can, however, consider the contract between MT and Plaintiff’s Insured as it is integral to the
 Amended Complaint. Holowecki v. Fed. Exp. Corp., 440 F.3d 558, 565–66 (2d Cir. 2006) (“When a
 plaintiff chooses not to attach to the complaint or incorporate by reference a document upon which it solely
 relies and which is integral to the complaint, the court may nevertheless take the document into
 consideration in deciding the defendant’s motion to dismiss, without converting the proceeding to one for
 summary judgment.” (citation, quotation marks, and alterations omitted)); Bovee & Thill LLC v. Pearson
 Educ., Inc., 564 F. Supp. 2d 199, 200 (S.D.N.Y. 2008) (holding that the contracts in which the plaintiff
 sued under were integral to the complaint and properly considered on a motion to dismiss). Furthermore,
 as discussed above, the Court can take judicial notice of the decision in the State Court Action. See Sec.
 III(A), n.2 supra.


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 IV.      Conclusion

          For the reasons stated above, MT’s motion to dismiss is denied; however, the Court will

 permit discovery solely related to whether Plaintiff is entitled to equitable tolling with respect to

 its claims against MT. Equitable tolling discovery shall be completed by April 1, 2024. MT shall

 file a motion for summary judgment by April 15, 2024; Plaintiff shall file an opposition by April

 29, 2024; and Plaintiff shall file any reply by May 6, 2024. See Corcoran v. New York Power

 Auth., 202 F.3d 530, 535–36 (2d Cir. 1999) (describing summary judgment briefing after the

 parties engaged in “limited discovery to determine whether the claims based on state tort law were

 barred by the applicable statutes of limitations”); Mosca, 602 F. Supp. 3d at 346 (“[q]uestions of

 equitable tolling . . . generally must look outside the pleadings and are therefore better decided on

 a motion for summary judgment rather than pursuant to Rule 12(c).”). All other discovery is stayed

 against MT pending resolution of MT’s summary judgment motion.

                 SO ORDERED.

 Dated:          Brooklyn, New York
                 February 14, 2024
                                                         /s/ Joseph A. Marutollo
                                                       JOSEPH A. MARUTOLLO
                                                       United States Magistrate Judge




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